                    IN TIIE UNITED STATES DISTRICT COURT
                FOR TIIE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DMSION
                                No. 7:16-CV-18-D


FREDRIC N. ESHELMAN,                       )
                                           )
                        Plaintiff,         )
                                           )
              v.                           )        VERDICT FORM
                                           )
PUMA BIOTECHNOLOGY, INC.                   )
                                           )
                        Defendant.         )


     We thd]uryunanimously answer the issues as follows:

                                          ISSUE 1

1.   What amount ofpunitive damages, ifany, does the jury in its discretion award to the plaintiff
     Fredric N. Eshelmap.?




     This is our 1manimous answer. So say we all. This \ 5 day of March 2019.



                                                  ~lJ~~
                                                Signature of ForeP'ersotl"'




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